         Case 1:00-cv-00761-FMA Document 160 Filed 10/29/10 Page 1 of 1




In The United States Court of Federal Claims
                                           No. 00-761T

                                     (Filed: October 29, 2010)
                                       __________

MINGO LOGAN COAL CO.,

                      Plaintiff,

        v.

THE UNITED STATES,

                        Defendant.
                                            ________

                                            ORDER
                                           __________


        On October 28, 2010, the parties filed a joint status report and motion for continued stay
pending a petition for writ of certiorari in Consolidation Coal Co. v. United States. The parties’
request is hereby GRANTED. On or before February 4, 2011, the parties shall file a joint status
report indicating the status of Consolidation Coal’s petition for writ of certiorari.

       IT IS SO ORDERED.



                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
